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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                             :       Case No. 3:17-CV-72

                  Plaintiff                             :      Judge MOON


                                                       :
           -v-

    JASON KESSLER ET AL.                               :

                                                       :
                  Defendants


                  MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT



          Now come defendants Identity Europa, Nathan Damigo, and Elliott Kline aka Eli

    Mosley, and move the Court to dismiss the Plaintiff’s claims against them pursuant to

    FRCP 12.


                                                Respectfully Submitted,


                                                s/ Elmer Woodard
                                                ELMER WOODARD (VSB 27734)
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                                                (434) 878-3422
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                                                Trial Attorney for Defendant



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                                     CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on December 7, 2017 upon:

       All parties of record. One party is entitled to or has requested service by other means
       and said party has been served by regular US mail as follows:
       Mr. Michael Enoch Peinovich
       PO Box 1069
       Hopewell Junction, NY 12533      .

                                                       s/ Elmer Woodard

                                                       E. Woodard (VSB 27734)




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